 

   

Case: —@ Document #: 7 Filed: 04/25/07 “oe of 1 PagelD #:8
AO 442 (Rev. 6/97) Warrant for Alrest

United States District Court

Northe ty of Ilinois
Fe \ \rkte ision

United States of America aol WARRANT FOR ARREST
npr?
v. opBins
wick ne We raicT court

Ricardo Valdez-Totres aka Eden > Case Number: 06 CR 551-1

To: The United States Marshal
And any Authorized United States Officer

YOU ARE HEREBY COMMANDCLD to arrest Ricardo Valdez-Torres aka E] Celebro
and bring him or her forthwith to the nearest magistrate judge to answer a(n)

[Indictment] Information Complaint

Order of court Violation Notice
Probation Violation Petition

charging him or her witht Conspiracy to Possess with Intent to Distribute Controlled

Substance

in violation of Title 21 United States Code, Section(s) 846

sha F. Glghn Issuing Officer Deputy Clerk

 

. Ce August 4, 2006, Chicago, Hlingis
Signature of Issuing Officer

 

Bail fixed at $

HE :OLHY H- DMV G82

 

, Judicial Officer

RETURN

‘This i rant pvas received and executed with the arrest of t Vee above- named defendant at

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te Dye Rede ived Name and Title of Arresting Officer Signature of Arrest Officer

 

 

Date of Arrest 1» DLT?) SBF LP ANAL /ouit f CK. LIFE

 

 

 

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